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                            IN UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division



  UNITED STATES OF AMERICA,


  v.                                                    Criminal No.: 4:23CR54 (AWA)


  CORTEZ D. BUMPHUS,
                Defendant.

                            MOTION TO WITHDRAW AS COUNSEL

          COMES NOW counsel for the defendant, and respectfully moves this Honorable Court

  for an order allowing him to withdraw from further representation of the defendant. In support of

  this motion, counsel states the following:

                                           Procedural History

         The defendant is charged in a second superseding indictment with continuing criminal

  enterprise, conspiracy to distribute narcotics, conspiracy to commit money laundering,

  possession with the intent to distribute (four (4) counts), possession of a firearm by a convicted

  felon, possession of a firearm in furtherance of a drug trafficking crime (three (3) counts),

  maintaining a drug involved premises, and using a communications facility in furtherance of a

  drug trafficking crime. A jury trial is scheduled to commence on January 14, 2025, and last for

  approximately three (3) weeks.

         This Honorable Court appointed undersigned counsel on August 20, 2024, after his prior

  counsel, who was his second appointed attorney, filed a motion to withdraw due to a breakdown

  in communication. On December 2, 2024, the defendant filed a motion entitled “Motion for

  Relief From Counsel,” alleging undersigned counsel was ineffective for a variety of reasons. See
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  ECF No. 888. Counsel forwarded a letter to the defendant addressing all concerns raised in this

  filing, many of which had been addressed in person or in writing previously. By order dated

  December 4, 2024, this Honorable Court notified counsel of this pleading, indicating that should

  counsel file a motion related to this submission, the pleading should include a recitation of the

  factual and legal basis supporting any requested relief. See ECF No. 894.

          While counsel deemed it unnecessary to file any pleading at that time, based upon recent

  developments, counsel now moves to withdraw.

                                         Factual Basis for Withdrawal

          On December 12, 2024, undersigned counsel emailed the Assistant United States

  Attorneys prosecuting this matter, Eric Hurt and Alyson Yates, inquiring about the status of

  certain discovery materials related to cooperating witnesses. Mr. Hurt promptly responded, and

  concluded his response by requesting that undersigned counsel contact him prior to his next visit

  to the jail to see the defendant. Counsel responded to the email, advising he intended to travel to

  the Norfolk City Jail on Saturday, December 14th, and would call Mr. Hurt the following day.

          On December 13, 2024, counsel spoke with Mr. Hurt at approximately 2:30 p.m. after

  exchanging voicemail messages. Mr. Hurt advised him that law enforcement had reviewed the

  defendant’s jail calls and disclosed that the defendant had made certain threats toward counsel.1

  Mr. Hurt advised that the FBI and the United States Attorneys’ Office find these threats to be

  credible threats and are concerned for counsel’s safety.

          Shortly after speaking with Mr. Hurt, counsel contacted the Virginia State Bar Ethics

  Hotline for assistance with the wording of this motion; he received a response at 4:39 p.m.




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   Counsel has not heard the recordings; based upon information and belief, the Assistant United States Attorney will
  provide the Court with the specific things said in its response to this Motion.
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                                     Legal Basis for Withdrawal

         As this Honorable Court enunciated at the August 20th hearing allowing Mr. Dinkin to

  withdraw, the Court must consider (1) whether or not the motion filed by counsel is timely made;

  (2) the basis of the dissatisfaction with counsel and whether good cause exists to allow

  substitution of counsel, and (3) whether or not the attorney-client conflict is so great as to result

  in a total lack of communication, preventing adequate representation. See United States v.

  Mullen, 32 F.3d 891 (4th Cir. 1994). Counsel will address each concern in turn.

         Trial is currently scheduled to start on January 14th, a little over one month from the date

  of filing. Counsel learned of the threats made on December 13th and has filed his motion on the

  same date. Counsel understands that should be allowed to withdraw, it is possible trial will need

  to be continued, given the time between filing and the scheduled trial date and the volume of

  discovery to review.

         The defendant is dissatisfied with counsel for the reasons stated in ECF No. 888. Counsel

  submits that the defendant’s threats constitute good cause to allow him to withdraw and which

  outweigh any concerns over the timeliness of the request.

         Given the threats to counsel, which both the United States Attorney’s Office and the FBI

  deem to be credible threats, counsel cannot provide effective assistance to the defendant, as he is

  not confident in his safety, either privately at the jail or publicly in Court. Clearly, counsel needs

  to be able to effectively communicate with the defendant which is not possible given the threats

  made by the defendant toward counsel.

         Based on information and belief, the Government does not oppose this request.
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                                              Conclusion

         In light of the foregoing, counsel respectfully requests that this Honorable Court grant his

  request and allow him to withdraw.

                                                Respectfully submitted,
                                                CORTEZ D. BUMPHUS



                                                By            /s/
                                                           Counsel



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                                   CERTIFICATE OF SERVICE

      I hereby certify that on this 13th day of December 2024, I electronically filed the foregoing

  Trial Brief with the Clerk of Court using the CM/ECF system, which will then send a

  notification of such filing (NEF) to all counsel of record.

                                                              /s/
                                                   Gregory R. Sheldon, Esq.
